             Case 1:22-cv-00079-N/A Document 1         Filed 03/10/22    Page 1 of 3
                                                                                       Form 3-1


 UNITED STATES COURT OF INTERNATIONAL TRADE                                        FORM 3


KINGTOM ALUMINIO SRL,

                          Plaintiff,
                                                             SUMMONS
        v.                                                   Court No.: 22-00079

UNITED STATES,

                          Defendant.



TO:     The Attorney General, the Department of Commerce, and/or the Commissioner of U.S.
        Customs and Border Protection, and/or the United States International Trade
        Commission:

PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28 U.S.C.
§ 1581(c) to contest the determination described below.

                                       /s/ Mario Toscano
                                        Clerk of the Court


     1. Plaintiff Kingtom Aluminio SRL (“Kingtom”) is a foreign producer and exporter of
        aluminum extrusions from the Dominican Republic.      Plaintiff is an interested party
        within the meaning of 19 U.S.C. § 1677(9)(A) and was party to the U.S. Department of
        Commerce’s January 1, 2019 – December 31, 2019 countervailing duty administrative
        review of Aluminum Extrusions From the People’s Republic of China. Plaintiff has
        standing to commence this action under 28 U.S.C. § 2631(c) and 19 U.S.C.
        § 1516a(a)(2)(A)(i)(I).
        (Name and standing of plaintiff)

2.      Plaintiff contests aspects of the U.S. Department of Commerce, International Trade
        Administration’s final results of the January 1, 2019 – December 31, 2019 countervailing
        duty administrative review of the countervailing duty order on Aluminum Extrusions
        From the People’s Republic of China. See Aluminum Extrusions From the People’s
        Republic of China: Final Results of Countervailing Duty Administrative Review and
        Rescission of Review, in Part; 2019, 87 Fed. Reg. 7,423 (Dep’t Commerce Feb. 9, 2022).
        (Brief description of contested determination)

3.      February 2, 2022
        (Date of determination)
          Case 1:22-cv-00079-N/A Document 1          Filed 03/10/22    Page 2 of 3
                                                                                     Form 3-2



4.     Commerce’s Final Results were published in the Federal Register on February 9, 2022.
       (If applicable, date of publication in Federal Register of notice of contested
       determination)

/s/ Brady W. Mills                             Brady W. Mills
Signature of Plaintiff’s Attorney              Morris, Manning & Martin, LLP
                                               1401 Eye Street, NW Suite 600
March 10, 2022                                 Washington, DC 20005
Date                                           (202) 216-4116
                                               bmills@mmmlaw.com
          Case 1:22-cv-00079-N/A Document 1               Filed 03/10/22     Page 3 of 3
                                                                                           Form 3-3


               SERVICE OF SUMMONS BY THE CLERK OF THE COURT

If this action, described in 28 U.S.C. § 1581(c), is commenced to contest a determination listed
in section 516A(a)(2) or (3) of the Tariff Act of 1930, the action is commenced by filing a
summons only, and the clerk of the court is required to make service of the summons. For that
purpose, list below the complete name and mailing address of each defendant to be served.

UPON THE UNITED STATES

Attorney-in-Charge
U.S. Department of Justice
International Trade Field Office
National Courts Branch
Room 346
26 Federal Plaza
New York, NY 10278

Jeanne Davidson, Esq.
Director, Civil Division
U.S. Department of Justice
Commercial Litigation Branch
1100 L Street, NW, Room 12124
Washington, D.C.20530

UPON THE DEPARTMENT OF COMMERCE

Office of the General Counsel
U.S. Department of Commerce
Mail Stop 5875 HCHB
14th Street & Constitution Avenue, NW
Washington, D.C.20230

Chief Counsel
U.S. Department of Commerce
Office of the Chief Counsel for Trade Enforcement and Compliance
International Trade Administration
1401 Constitution Ave., NW
Washington, DC 20230

(As amended July 21, 1986, eff. Oct. 1, 1986; Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28,
2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1, 2011; July 17, 2017, eff. July 17, 2017; Oct. 25,
2017, eff. Oct. 25, 2017; Sept. 18, 2018, eff. Oct. 15, 2018.)
